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                                                                                         Martin	  &	  Saunders	  Report,	  Exhibit	  F—Page	  1	  of	  6	  
	  
	  
                        Exhibit	  F:	  The	  Evidence	  for	  Trojan	  Horse	  Crossover	  Voting	  in	  Idaho	  
	  
                                                                         Summary	  Points	  
                  	  
1.	  	  The	  Trojan	  Horse	  voting	  strategy	  is	  only	  possible	  given	  certain	  ideological	  distributions	  of	  
voters,	  and	  is	  most	  likely	  to	  be	  successful	  in	  cases	  when	  it	  is	  not	  necessary.	  
	  
2.	  	  A	  successful	  Trojan	  Horse	  candidate	  should	  be	  “one-­‐and-­‐done”	  and	  lose	  in	  the	  next	  primary	  or	  
general	  election.	  	  It	  is,	  thus,	  not	  in	  a	  candidate’s	  or	  party’s	  long-­‐term	  interest	  to	  pursue	  the	  strategy.	  
	  
3.	  	  There	  is	  no	  scientific	  evidence	  that	  any	  Trojan	  Horse	  candidate	  has	  been	  successful	  in	  Idaho,	  or	  
that	  a	  pattern	  of	  sustained	  crossover	  voting	  has	  affected	  Idaho	  state	  politics.	  
	  
4.	  	  Moving	  to	  a	  closed	  primary	  system	  would	  not	  eliminate	  the	  possibility	  of	  Trojan	  Horse	  crossover	  
voting.	  
	  
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                                                                                       Martin	  &	  Saunders	  Report,	  Exhibit	  F—Page	  2	  of	  6	  
	  
	  
The	  Theory	  of	  Trojan	  Horse	  Crossover	  Voting	  
	  
Exhibit	  E	  provides	  a	  comprehensive	  review	  of	  the	  literature	  about	  strategic	  crossover	  voting.	  	  As	  
reviewed	  in	  that	  exhibit,	  there	  is	  very	  little	  empirical	  evidence	  of	  negative	  strategic	  crossover	  
voting,	  and	  no	  evidence	  whatsoever	  of	  Trojan	  Horse	  crossover	  voting.	  	  The	  purpose	  of	  this	  exhibit	  is	  
to	  take	  Professor	  Munger’s	  idea	  of	  Trojan	  Horse	  crossover	  voting	  on	  its	  face	  theoretically,	  and	  
examine	  whether	  it	  is	  likely	  to	  occur	  in	  the	  Idaho	  context.	  
	  
Professor	  Munger’s	  report	  provides	  a	  description	  of	  Trojan	  Horse	  crossover	  voting.	  	  This	  type	  of	  
crossover	  voting	  occurs	  when	  “[a]	  candidate	  with	  core	  ideological	  beliefs	  more	  appropriate	  for	  one	  
party	  signs	  up	  as	  a	  candidate	  in	  a	  primary	  for	  the	  other	  party”	  (p.	  4).	  Professor	  Munger’s	  Figure	  3	  
shows	  how	  this	  could	  play	  out	  in	  a	  hypothetical	  electorate.	  	  In	  this	  set-­‐up	  there	  are	  two	  parties—a	  
Left	  party	  and	  a	  Right	  party—each	  with	  a	  distinct	  ideological	  distribution	  of	  partisans.	  	  The	  overall	  
electorate	  is	  centrist.	  	  In	  the	  hypothetical,	  there	  is	  no	  Right	  party	  candidate.	  	  Instead,	  a	  “real”	  Right	  
party	  candidate	  enters	  the	  Left	  party	  primary,	  and	  wins	  because	  of	  significant	  crossover.	  	  Because	  
she	  is	  unopposed,	  the	  winner	  of	  the	  Left	  party	  primary	  wins	  the	  general	  election.	  
	  
This	  is	  an	  interesting	  hypothetical,	  but	  theoretically,	  Trojan	  Horse	  crossover	  voting	  is	  rarely	  
sustainable,	  especially	  across	  multiple	  elections.	  	  For	  the	  sake	  of	  this	  discussion,	  assume	  that	  a	  
“real”	  Democratic	  candidate	  is	  attempting	  to	  Trojan	  Horse	  in	  the	  Republican	  primary.	  
	  
First,	  Trojan	  Horse	  crossover	  voting	  would	  only	  be	  possible	  in	  districts	  with	  particular	  ideological	  
distributions.	  	  Figure	  F-­‐1	  (page	  6)	  presents	  the	  ideological	  distribution	  of	  the	  Idaho	  electorate	  in	  
2008	  from	  the	  Boise	  State	  University	  Annual	  Public	  Policy	  survey.	  	  What	  is	  striking	  from	  these	  data	  
is	  the	  ideological	  distribution	  in	  the	  State	  of	  Idaho	  does	  not	  exhibit	  the	  bell-­‐shaped,	  symmetric	  
curve	  shown	  in	  Professor	  Munger’s	  hypothetical.	  	  Rather,	  the	  distribution	  exhibits	  a	  significant	  left	  
skew,	  with	  most	  voters	  identifying	  as	  conservatives	  (more	  than	  50%).	  	  As	  discussed	  below,	  in	  order	  to	  
understand	  the	  possibility	  of	  Trojan	  Horse	  crossover	  voting,	  the	  relevant	  distribution	  of	  ideology	  is	  
at	  the	  district	  level.	  	  However,	  suppose	  a	  district	  showed	  an	  ideological	  distribution	  similar	  to	  that	  
in	  Figure	  F-­‐1.	  	  Would	  a	  Trojan	  Horse	  strategy	  be	  viable	  for	  a	  Democratic	  candidate?	  	  Likely	  not.	  	  
Indeed,	  even	  if	  all	  twenty	  percent	  of	  the	  Liberal	  voters	  voted	  for	  their	  Trojan	  Horse	  candidate	  in	  the	  
Republican	  primary,	  so	  long	  as	  forty	  percent	  of	  the	  conservatives	  voted	  in	  the	  primary,	  the	  Trojan	  
Horse	  candidate	  would	  lose.	  	  Indeed,	  the	  crossover	  voters	  would	  have	  to	  vote	  at	  a	  rate	  two-­‐and-­‐a-­‐
half	  times	  as	  great	  as	  the	  conservative	  voters.	  	  This	  is	  an	  incredibly	  unlikely	  ratio.	  
	  
Second,	  the	  situations	  in	  which	  Trojan	  Horse	  crossover	  voting	  would	  be	  most	  likely	  would	  be	  the	  
situations	  when	  it	  would	  not	  be	  necessary.	  	  Suppose	  that	  the	  Republicans	  in	  Figure	  F-­‐1	  chose	  to	  run	  
a	  Trojan	  Horse	  candidate	  in	  the	  Democratic	  primary.	  	  It	  would	  be	  easy	  for	  the	  Republicans	  to	  do	  
and	  win,	  because	  of	  the	  few	  number	  of	  liberals.	  	  However,	  Republicans	  would	  never	  have	  the	  
incentive	  to	  run	  a	  Trojan	  Horse	  candidate	  in	  this	  situation	  because	  they	  enjoy	  an	  overwhelming	  
electoral	  majority,	  and	  as	  such,	  can	  expect	  their	  nominated	  candidate	  to	  win	  the	  general	  election.	  
	  
Third,	  while	  Trojan	  Horse	  candidates	  could	  be	  successful	  in	  winning	  a	  general	  election—especially	  
if	  they	  are	  unopposed—there	  is	  no	  reason	  to	  expect	  the	  strategy	  to	  be	  viable	  for	  more	  than	  one	  
election	  cycle.	  	  If	  a	  “real”	  Democrat	  was	  able	  to	  win	  the	  Republican	  primary	  and	  was	  unopposed	  in	  
the	  general	  election,	  in	  the	  next	  cycle	  the	  Greek	  army	  would	  have	  emerged	  from	  the	  Trojan	  Horse	  
and	  the	  electorate	  would	  know.	  	  The	  Republican	  Party	  could	  vigorously	  contest	  the	  Trojan	  Horse	  
candidate	  in	  the	  Republican	  primary,	  or	  alternatively,	  could	  run	  a	  Trojan	  Horse	  candidate	  of	  their	  
own	  in	  the	  Democratic	  primary.	  	  In	  either	  of	  these	  scenarios,	  the	  Trojan	  Horse	  candidate	  would	  lose	  
            Case 1:08-cv-00165-BLW Document 60-10 Filed 09/29/10 Page 3 of 6
                                                                                        Martin	  &	  Saunders	  Report,	  Exhibit	  F—Page	  3	  of	  6	  
	  
	  
in	  either	  primary	  or	  general	  election.	  	  As	  such,	  this	  strategy	  is	  not	  consistent	  with	  a	  long-­‐term	  
political	  equilibrium.	  
	  
Fourth,	  the	  Trojan	  Horse	  strategy	  requires	  a	  great	  deal	  of	  coordination	  among	  candidates	  and	  
voters.	  	  This	  is	  a	  generic	  problem	  of	  electoral	  systems	  (see,	  for	  example,	  Cox	  1997).	  	  For	  a	  
sophisticated	  and	  coordinated	  strategy	  such	  as	  this	  to	  be	  effective,	  a	  significant	  numbers	  of	  voters	  
must	  all	  pursue	  the	  same	  strategy	  and	  potential	  candidates	  must	  sit	  on	  the	  sidelines.	  	  Solving	  
coordination	  problems	  is	  exceedingly	  difficult,	  especially	  the	  larger	  the	  group	  of	  people	  who	  need	  
to	  coordinate	  in	  order	  to	  achieve	  a	  goal	  (Olson	  1965).	  	  As	  such,	  providing	  a	  mechanism	  to	  resolve	  
this	  problem	  would	  be	  necessary	  to	  establish	  Trojan	  Horse	  crossover	  voting.	  	  Moreover,	  because	  of	  
the	  open	  primary	  system,	  parties	  and	  potential	  candidates	  would	  need	  to	  coordinate	  across	  
multiple	  races.	  	  If,	  for	  example,	  a	  Democratic	  Senate	  candidate	  ran	  in	  the	  Republican	  primary	  and	  
drew	  many	  crossover	  voters,	  a	  modest	  number	  of	  crossover	  Republican	  voters	  could	  dictate	  the	  
results	  of	  the	  Democratic	  primaries	  for	  the	  House.	  	  This	  coordination	  would	  also	  need	  to	  take	  place	  
with	  sophisticated	  voting	  strategies.	  	  The	  literature	  is	  mixed	  as	  to	  whether	  partisan	  voters	  in	  
primaries	  sincerely	  vote	  for	  their	  preferred	  candidate	  or	  vote	  in	  a	  sophisticated	  manner	  for	  the	  
candidate	  most	  likely	  to	  win	  the	  general	  election	  (Southwell	  1991;	  Wekkin	  1991;	  Cox	  1997).	  	  It	  is	  
far	  more	  complicated	  for	  voters	  to	  pursue	  the	  Trojan	  Horse	  strategy.	  
	  
Finally,	  Trojan	  Horse	  crossover	  voting	  depends	  crucially	  on	  the	  assumption	  that	  the	  spatial	  model	  
is	  an	  appropriate	  model	  for	  voting	  in	  elections.	  	  The	  spatial	  model,	  first	  proposed	  by	  Downs	  (1957),	  
is	  a	  model	  that	  assumes	  that	  voters	  and	  candidates	  can	  be	  located	  in	  a	  policy	  space,	  and	  that	  voters	  
cast	  votes	  solely	  based	  on	  the	  relative	  distance	  to	  each	  candidate.	  	  The	  policy	  space	  is	  usually	  of	  low	  
dimension;	  one	  can	  think	  of	  the	  left-­‐right	  continuum	  in	  American	  politics	  as	  a	  one-­‐dimensional	  
spatial	  model.	  	  	  This	  spatial	  model	  relies	  on	  many	  assumptions	  which	  may	  or	  may	  not	  hold	  in	  the	  
Idaho	  electoral	  context.	  	  What	  we	  do	  know,	  as	  detailed	  in	  Exhibit	  E,	  that	  models	  that	  rely	  on	  party	  
identification	  are	  those	  that	  are	  empirically	  strongest.	  	  While	  spatial	  voting	  theory	  is	  theoretically	  
elegant	  and	  useful	  for	  understanding	  behavior	  in	  legislatures	  and	  some	  multiparty	  systems,	  its	  
support	  in	  the	  American	  voting	  behavior	  literature	  is	  sparse.	  
	  
At	  the	  theoretical	  level,	  Professor	  Munger’s	  report	  does	  not	  demonstrate	  that	  Trojan	  Horse	  
crossover	  voting	  is	  a	  viable	  political	  equilibrium.	  	  Indeed,	  if	  a	  Democratic	  candidate	  is	  going	  run	  a	  
Trojan	  Horse	  campaign	  in	  the	  Republican	  primary,	  the	  best	  response	  would	  be	  for	  the	  Republican	  
party	  to	  run	  a	  Trojan	  Horse	  candidate	  in	  the	  Democratic	  primary,	  which	  would	  be	  functionally	  
equivalent	  to	  each	  party	  running	  its	  candidates	  in	  its	  own	  primaries.	  	  Because	  it	  is	  more	  costly	  for	  
voters	  to	  crossover	  in	  an	  open	  primary	  system	  compared	  to	  a	  blanket	  primary	  system,	  the	  
equilibrium	  becomes	  all	  the	  more	  complicated.	  
	  
The	  Evidence	  for	  Trojan	  Horse	  Crossover	  Voting	  
	  
There	  is	  no	  doubt	  Trojan	  Horse	  crossover	  voting	  would	  be	  detrimental	  to	  Party	  Organizations.	  	  It	  is	  
also	  the	  case,	  as	  theory	  suggests,	  that	  Trojan	  Horse	  crossover	  voting	  would	  be	  vanishingly	  rare.	  	  It	  
might	  be	  the	  case,	  however,	  that	  Trojan	  Horse	  crossover	  voting	  does	  occur,	  and	  candidates	  are	  
successful.	  	  Before	  discussing	  specific	  evidence	  in	  the	  Idaho	  context,	  it	  is	  important	  to	  discuss	  what	  
evidence	  to	  consider.	  
	  
Professor	  Munger	  suggests	  there	  are	  four	  predictions	  that	  can	  be	  used	  to	  ascertain	  whether	  Trojan	  
Horse	  voting	  is	  occurring	  in	  a	  particular	  race	  (p.	  10).	  	  First,	  there	  should	  be	  ideological	  differences	  
between	  the	  “real”	  partisan	  voters	  and	  the	  crossover	  voters	  supporting	  the	  candidate.	  	  To	  
demonstrate	  this	  adequately	  would	  require	  an	  understanding	  of	  the	  ideological	  distribution	  of	  
            Case 1:08-cv-00165-BLW Document 60-10 Filed 09/29/10 Page 4 of 6
                                                                                       Martin	  &	  Saunders	  Report,	  Exhibit	  F—Page	  4	  of	  6	  
	  
	  
voters	  in	  an	  electoral	  district,	  a	  measure	  of	  partisan	  identification	  of	  each	  voter	  so	  that	  the	  
distribution	  of	  ideology	  within	  each	  party	  could	  be	  determined,	  and	  an	  indication	  for	  whom	  each	  
individual	  voted.	  	  Moreover,	  it	  would	  be	  necessary	  to	  show	  that	  Trojan	  Horse	  crossover	  voting	  is	  a	  
viable	  strategy	  given	  the	  distributions	  in	  the	  overall	  district	  and	  within	  the	  parties.	  	  This	  could	  be	  
successfully	  demonstrated	  using	  survey	  data.	  
	  
Second,	  Professor	  Munger	  claims	  that	  turnout	  in	  primaries	  should	  increase	  markedly	  in	  the	  face	  of	  
Trojan	  Horse	  crossover	  voting.	  	  For	  a	  Trojan	  Horse	  strategy	  to	  be	  successful,	  the	  party	  using	  the	  
strategy	  would	  typically	  have	  to	  participate	  at	  a	  higher	  rate	  than	  usual,	  which	  would	  result	  in	  an	  
increase	  in	  overall	  turnout.	  	  However,	  this	  rationale	  does	  not	  account	  for	  the	  many	  other	  explanations	  
for	  increase	  in	  turnout,	  including	  the	  number	  of	  contested	  races,	  the	  number	  of	  high	  profile	  races,	  
the	  amount	  of	  campaign	  spending,	  and	  contextutal	  factors	  like	  the	  strength	  of	  the	  economy	  and	  the	  
weather	  on	  election	  day	  (e.g.,	  Wolfinger	  and	  Rosenstone	  1980).	  	  Moreover,	  because	  the	  open	  
primary	  system	  forces	  voters	  to	  choose	  one	  party	  ballot,	  the	  effects	  of	  a	  single	  Trojan	  Horse	  
strategy	  in	  a	  single	  race	  might	  be	  neglible.	  	  As	  such,	  observing	  an	  increase	  in	  the	  turnout	  in	  a	  
primary	  is	  evidence	  for	  an	  increase	  in	  the	  turnout	  for	  a	  primary.	  	  To	  reach	  a	  scientifically	  valid	  
conclusion	  about	  the	  the	  cause	  of	  the	  turnout	  would	  require	  examining	  these	  other	  explanations.	  
	  
Third,	  Professor	  Munger	  suggests	  that	  we	  should	  expect	  to	  see	  bullet	  voting—with	  some	  voters	  
choosing	  only	  to	  vote	  in	  a	  small	  handful	  of	  races—if	  a	  Trojan	  Horse	  strategy	  is	  being	  employed.	  	  
Again,	  this	  does	  not	  account	  other	  explanations	  for	  bullet	  voting,	  including	  the	  competiveness	  and	  
importance	  of	  other	  races	  on	  the	  ballot,	  and	  the	  amount	  (or	  lack	  of)	  campaign	  advertising	  in	  the	  
other	  races	  on	  the	  ballot.	  	  Bullet	  voting	  itself	  is	  not	  evidence	  of	  Trojan	  Horse	  crossover	  voting	  
because	  it	  is	  quite	  difficult	  to	  show	  using	  aggregate	  election	  data	  who	  was	  failing	  to	  vote	  in	  a	  
particular	  primary	  race.	  	  Indeed,	  ballot	  data	  would	  be	  necessay	  to	  show	  bullet	  voting,	  and	  other	  
explanations	  would	  need	  to	  be	  considered	  before	  one	  could	  conclude	  that	  crossover	  voting	  was	  the	  
cause.	  	  I	  discuss	  this	  methodological	  point	  in	  great	  detail	  when	  discussing	  the	  Ripley	  affidavit.	  
	  
Finally,	  Professor	  Munger	  suggests	  that	  we	  should	  expect	  to	  see	  reverse	  “roll-­‐off”—or	  individuals	  
voting	  for	  “lower”	  offices	  in	  a	  race	  while	  not	  casting	  votes	  fan	  candidates	  of	  higher	  office.	  	  Just	  as	  
with	  bullet	  voting,	  there	  are	  other	  explanations	  for	  this,	  including	  non-­‐competitive	  “higher”	  office	  
races,	  and	  cases	  when	  “lower”	  office	  elections	  are	  more	  salient	  due	  to	  campaign	  spending.	  	  Exhibit	  
H	  contains	  a	  discussion	  of	  this	  issue	  in	  the	  Idaho	  context.	  
	  
Professor	  Munger’s	  report	  discusses	  other	  types	  of	  crossover	  voting	  as	  well,	  including	  sincere	  
crossover	  voting,	  hedge	  voting,	  impact	  voting,	  and	  raiding.	  	  Many	  of	  these	  strategies	  could	  be	  
happening	  at	  the	  same	  time,	  and	  could	  happen	  coincidentally	  with	  Trojan	  Horse	  crossover	  voting.	  	  
Just	  as	  with	  Trojan	  Horse	  crossover	  voting,	  survey	  data	  about	  party	  identification,	  ideology,	  and	  
voting	  behavior	  at	  the	  district	  level	  could	  provide	  evidence	  of	  crossover	  voting.	  Electoral	  data	  about	  
primary	  turnout,	  bullet	  voting,	  and	  reverse	  “roll-­‐off”	  could	  only	  be	  used	  successfully	  if	  other	  
plausible	  explanations	  are	  dismissed.	  	  Demonstrating	  one	  or	  more	  of	  these	  is	  not	  sufficient	  evidence	  
for	  the	  presence	  of	  crossover	  voting.	  
	  
In	  his	  report,	  Professor	  Munger	  relies	  on	  two	  types	  of	  scientific	  evidence	  about	  the	  presence	  of	  
crossover	  voting	  and	  its	  consequences.	  	  First	  are	  data	  from	  the	  2004,	  2006,	  and	  2008	  Idaho	  
primaries,	  along	  with	  the	  affidavit	  of	  David	  Ripley.	  	  Professor	  Munger	  presents	  no	  specifics	  about	  
what	  analyses	  he	  performed	  with	  the	  Idaho	  election	  data,	  rather	  than	  claiming	  there	  are	  “strong	  
patterns	  consistent	  with	  crossover	  voting”	  (p.	  11).	  	  Just	  comparing	  vote	  totals	  without	  considering	  
alternative	  explanations	  does	  not	  pass	  scientific	  muster.	  	  Without	  specifics	  as	  to	  the	  particular	  races	  
and	  candidates	  considered,	  it	  is	  impossible	  to	  draw	  sound	  conclusions	  from	  these	  data.	  	  Moreover,	  
            Case 1:08-cv-00165-BLW Document 60-10 Filed 09/29/10 Page 5 of 6
                                                                                        Martin	  &	  Saunders	  Report,	  Exhibit	  F—Page	  5	  of	  6	  
	  
	  
even	  if	  there	  is	  evidence	  of	  increased	  turnout,	  some	  bullet	  balloting,	  or	  reverse	  rolloff,	  that	  itself	  
does	  not	  demonstrate	  the	  presence	  of	  crossover	  voting.	  	  I	  will	  discuss	  Mr.	  Ripley’s	  specific	  analyses	  
later	  in	  this	  report.	  	  Second,	  Professor	  Munger	  relies	  on	  survey	  data	  from	  Moore	  Information	  which	  
is	  used	  to	  gauge	  the	  amount	  of	  crossover	  voting,	  as	  discussed	  extensively	  in	  Exhibit	  D.	  	  It	  is	  
important	  to	  note	  that	  Professor	  Munger’s	  report	  does	  not	  provide	  one	  example	  of	  Trojan	  Horse	  
candidate	  who	  was	  successful,	  or	  that	  the	  level	  of	  crossover	  voting	  in	  the	  State	  of	  Idaho	  has	  been	  
consequential	  to	  governance	  in	  the	  state.	  
	  
Would	  moving	  to	  a	  closed	  primary	  system	  with	  party	  registration	  eliminate	  crossover	  voting	  
generally,	  or	  Trojan	  Horse	  crossover	  voting	  specifically?	  	  The	  pedantic	  answer	  to	  this	  question	  is	  
“yes,”	  because	  only	  registered	  party	  voters	  could	  participate	  in	  the	  primary	  election,	  so	  any	  
candidate	  that	  won	  would	  be	  the	  choice	  of	  the	  partisans.	  	  (Of	  course,	  one	  could	  view	  the	  act	  of	  
choosing	  a	  party	  ballot	  in	  an	  open	  primary	  as	  a	  declaration	  of	  one’s	  partisanship	  at	  that	  particular	  
point	  in	  time,	  so	  by	  this	  definition	  any	  vote	  in	  the	  current	  system	  could	  not	  be	  considered	  a	  
crossover	  vote	  either.)	  	  The	  concern	  about	  crossover	  voting	  is	  “real”	  Democrats	  posing	  as	  
Republicans	  and	  voting	  in	  the	  Republican	  primary.	  	  A	  closed	  primary	  system	  would	  not	  eliminate	  
people	  who	  identify	  as	  Democrats	  registering	  as	  Republicans	  before	  the	  primary	  so	  they	  could	  
participate	  the	  the	  primary	  of	  their	  choice.	  	  Without	  a	  mechanism	  to	  keep	  “real”	  Democrats	  from	  
registering	  and	  participating	  as	  Republicans,	  changing	  the	  electoral	  system	  will	  not	  eliminate	  
crossover	  voting.	  
	  
Additional	  Evidence	  About	  the	  Consequences	  of	  Crossover	  Voting	  
	  
The	  discussion	  of	  crossover	  voting	  so	  far	  has	  considered	  the	  Party	  Organization	  and	  the	  Party	  in	  
Electorate.	  	  For	  crossover	  voting	  to	  be	  substantively	  important,	  it	  is	  necessary	  to	  ascertain	  the	  
extent	  to	  which	  it	  affects	  the	  party	  in	  government.	  	  The	  analysis	  we	  perform	  looks	  at	  two	  types	  of	  
evidence.	  	  First,	  who	  wins	  and	  who	  loses	  in	  the	  current	  primary	  system?	  	  Have	  crossover	  voters	  
affected	  candidates,	  and	  if	  so,	  by	  how	  much?	  	  This	  evidence,	  from	  Idaho	  electoral	  data,	  is	  presented	  
by	  Professor	  Saunders	  in	  Exhibit	  B.	  	  Second,	  we	  will	  look	  at	  the	  data	  from	  the	  legislature.	  	  Is	  the	  
Republican	  Party	  disadvantaged	  by	  the	  current	  system?	  	  Are	  “real”	  Democrats	  elected	  to	  the	  Idaho	  
legislature	  as	  Republicans?	  	  If	  the	  answer	  to	  those	  questions	  are	  no,	  then	  one	  can	  conclude	  that	  the	  
impact	  of	  crossover	  voting	  is	  negligible.	  	  We	  present	  that	  evidence	  in	  Exhibit	  G.	  
	  
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                                                                                                              Martin	  &	  Saunders	  Report,	  Exhibit	  F—Page	  6	  of	  6	  
	  
	  




                                                                                                                                                                 	  
Figure	   F-­1.	   Barplot	   of	   ideology	   in	   the	   State	   of	   Idaho.	   	   Source:	   2008	   Boise	   State	   University	   Annual	   Public	   Policy	   survey,	  
2008	  Partisanship	  and	  2008	  Ideology	  can	  be	  found	  at	  http://ppa.boisestate.edu/ssrc/archive/2008-­‐annualsurvey19.pdf,	  
accessed	  April	  1,	  2010,	  pp.	  24-­‐25	  
